                     Case 19-50740-JKS                   Doc 24         Filed 04/05/21            Page 1 of 3




                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

In re:                                                                           Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC, et                                           Case No. 17-12560 (BLS)
al.,1
                                                                                 (Jointly Administered)
                              Remaining Debtors.
MICHAEL GOLDBERG, as Liquidating Trustee of
the Woodbridge Liquidation Trust, successor in
interest to the estates of WOODBRIDGE GROUP OF
COMPANIES, LLC, et al.,                                                          Adversary Proceeding
                                                                                 Case No. 19-50740 (BLS)
                                          Plaintiff,
                             vs.

SUMNER ABRAMSON, IN HIS CAPACITY AS
TRUSTEE OF THE SUMNER ABRAMSON
REVOCABLE LIVING TRUST; SUMNER
ABRAMSON,

                                          Defendants.

                                               JUDGMENT BY DEFAULT

           Upon the Plaintiff’s Motion for Default Judgment (the “Motion”) pursuant to Bankruptcy

Rule 7055 for the entry of a judgment by default against defendants Sumner Abramson, in his

capacity as Trustee of the Sumner Abramson Revocable Living Trust, and Sumner Abramson

(each a “Defendant,” and collectively, the “Defendants”) with respect to the Complaint for

Avoidance and Recovery of Preferential and Fraudulent Transfers Pursuant to 11 U.S.C.

Sections 544, 547, 548, & 550 [Adv. Docket No. 1] (the “Complaint”)2 and the Entry of Default

entered by the Clerk of Court [Adv. Docket No. 18]; and adequate notice of the Motion having

been given and it appearing in the circumstances that no other or further notice is required; and



1
 The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows: Woodbridge Group of
Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The Remaining Debtors’ mailing address is 14140 Ventura
Boulevard #302, Sherman Oaks, California 91423.
2   Capitalized terms used but not defined herein shall have the meanings assigned to such terms in the Complaint.



DOCS_DE:230710.4 94811/003
                  Case 19-50740-JKS        Doc 24      Filed 04/05/21    Page 2 of 3




this Court having jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334; and

Defendant having failed to answer or otherwise respond to the Complaint within the applicable

deadline; and the entry of a judgment by default being proper against Defendant; and sufficient

cause appearing therefor,

        IT IS HEREBY ORDERED THAT:

        1.       The Motion is GRANTED as set forth herein.

        2.       Pursuant to Bankruptcy Rule 7055(b)(2), judgment by default (“Judgment”) shall

be entered against Defendants with respect to all claims for relief asserted in the Complaint.

        3.       Judgment is awarded in favor of Plaintiff and against Defendants on the first and

second claims for relief, (a) avoiding the Ninety Day Transfers free and clear of any claimed

interest of Defendant, (b) directing that the Ninety Day Transfers be set aside, and (c) ordering

Defendant to pay to Plaintiff $100,250.00;

        4.       Judgment is awarded in favor of Plaintiff and against Defendants on the third and

fourth claims for relief, (a) avoiding the Fraudulent Transfers free and clear of any claimed

interest of Defendant, (b) directing that the Fraudulent Transfers be set aside, and (c) ordering

Defendant to pay to Plaintiff $6,750.00;

        5.       Judgment is awarded on all claims for relief, awarding Plaintiff prejudgment

interest as permitted by law, costs of suit, and such other and further relief as is just and proper.

        6.       The Plaintiff is authorized and empowered to take any and all actions necessary or

appropriate to consummate, carry out, effectuate, or otherwise enforce the terms, conditions, and

provisions of this Judgment.

        7.       The Clerk of Court is authorized and directed to take any action that is necessary

and appropriate to give effect to this Judgment.



                                                   3
DOCS_DE:230710.4 94811/003
                  Case 19-50740-JKS       Doc 24      Filed 04/05/21    Page 3 of 3




        8.       This Court shall retain jurisdiction and power over any and all matters arising

from or related to the interpretation or implementation of this Judgment.




Dated: April 5th, 2021                             BRENDAN L. SHANNON
Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE




                                                  4
DOCS_DE:230710.4 94811/003
